                         Case 3:23-mj-03801-RFC                           Document 1               Filed 11/28/23   Page 1 of 6
(W.D.T.X. Ref: 245H)(Rev. 01/05) - Judgement in a Criminal Case for a Petty Offense (Short Form)




                                      UNITED STATES DISTRICT COURT
                                                                                                                                  FILED
                                                                                                                                Nov 28 2023
                                                       WESTERN DISTRICT OF TEXAS                                         Clerk, U.S. District Court
                                                                                                                         Western District of Texas
                                                           EL PASO DIVISION



                                                                                                                                                      Deputy


UNITED STATES OF AMERICA                                                                §
                                                                                        § CASE NUMBER: EP:23-M -03801(1)
vs.                                                                                     §
                                                                                        §
(1) JHOAN LEE BASTIDAS PAZ                                                              §

                 Defendant.

                                                         JUDGMENT IN A CRIMINAL CASE
                                                         (For A Petty Offense) - Short Form

         The defendant, Jhoan Lee Bastidas Paz, was represented by counsel, Damian Ryan George
Rasmussen.

          The defendant pled guilty to the complaint on November 28, 2023. Accordingly, the defendant is
adjudged guilty of the following offense(s):

Title & Section                      Nature of Offense                                                              Date of Offense

8 USC 1325(a)(1)                     IMPROPER ENTRY BY AN ALIEN                                                     November 19, 2023


           As pronounced on November 28, 2023, the defendant is hereby committed to the custody of the
United States Bureau of Prisons for a term of Time Served + (1) One Business Day. The defendant shall
remain in custody pending service of sentence.

           The special assessment imposed pursuant to 18 U.S.C. § 3013 is hereby remitted pursuant to
18 U.S.C. § 3573 because of reasonable efforts to collect this assessment are not likely to be effective.

                 Signed on this the 28th day of November, 2023.




                                                                                                        ______________________________
                                                                                                        ROBERT F. CASTANEDA
                                                                                                        UNITED STATES MAGISTRATE JUDGE
                 Case 3:23-mj-03801-RFC            Document 1         Filed 11/28/23     Page 2 of 6
                                      United States District Court                                        FILED
                                            Western District of Texas                                  11/28/2023
                                               El Paso Division                                      Clerk, U.S. District Court
                                                                                                     Western District of Texas


                                                                                               By:
                                                                                                       VMontoya
                                                                                                                        Deputy

                           INITIAL APPEARANCE, PLEA AND SENTENCE
                                                                              Case Number: EP:23-M -03801(1) RFC
DEFENDANT'S NAME:                                          ATTY FOR DEFENDANT:
(1) JHOAN LEE BASTIDAS PAZ                                 Rasmussen, Damian Ryan George

JUDGE:          ROBERT F. CASTANEDA                         AUSA:             Shanon Holderfield
DEPUTY CLERK:   Veronica Montoya                            INTERPRETER:      Spanish - T. McEneny
COURT REPORTER: ERO                                         PROB. OFFICER
                                                            PRETRIAL OFFICER:
DATE:                   November 28, 2023                   TIME: _15 Minutes            2:32 - 2:47

PROCEEDINGS                                                  DFT NO.                    [DftNo1]                   [DftNo2]

 X      INITIAL APPEARANCE HELD/ waived                                                    X
 X      ARRAIGNMENT HELD                                                                   X
 X      DFT INFORMED OF RIGHTS/oral consent to plea                                        X
 X      GUILTY      DEFT [DftNo1] COUNT(S):          COMPLAINT

 X      GUILTY PLEA ACCEPTED BY THE COURT                                                  X

        Information Filed On _____________________
        Motion to Dismiss Complaint filed on _____________
        Court Grants Motion to Dismiss on _____________
        Order Dismissing Complaint entered on _____________

 X      Oral Motion by AUSA to Remit Special Assessment                                    X
 X      Oral Order Granting Oral Motion to Remit Special Assessment                        X

 X      SENTENCING HELD: Defendant sentenced to :
        TIME SERVED + ONE (1) BUSINESS DAY/ NO FINE / SA REMITTED

OTHER: Deft admonished as to his/her right to have the government or a fedral law enforcement official notify a
consular officer from his/her country of nationality of the arrest
        Case 3:23-mj-03801-RFC           Document 1        Filed 11/28/23      Page 3 of 6




                            UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF TEXAS
                                  EL PASO DIVISION

USA                                                   §
                                                      §          Case Number:
vs.                                                   §          EP:23-M -03801(1) RFC
                                                      §
(1) JHOAN LEE BASTIDAS PAZ                            §




                              ORDER APPOINTING COUNSEL


     The above named Defendant has testified under oath, or has otherwise satisfied this court,
that he/she is financially unable to obtain counsel and does not wish to waive representation by
counsel.

     Therefore, in the interest of justice, Damian Ryan George Rasmussen, is hereby appointed
to represent the defendant in the above-styled and numbered cause.

     Defense Counsel is ORDERED to meet and confer with the Defendant prior to the time of
the hearing. Failure to do so, in absence of good cause, will result in termination of the
appointment of counsel.

      This appointment shall remain in effect until further order of this court.


      It is so ORDERED this 28th day of November, 2023.



                                                 ______________________________
                                                 ROBERT F. CASTANEDA
                                                 UNITED STATES MAGISTRATE JUDGE
        Case 3:23-mj-03801-RFC          Document 1       Filed 11/28/23     Page 4 of 6




                           UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF TEXAS
                                 EL PASO DIVISION

USA                                           §
                                              §
vs.                                           §     Case Number: EP:23-M -03801(1)
                                              §
(1) JHOAN LEE BASTIDAS PAZ                    §


         ORDER SETTING INITIAL APPEARANCE / MISD. ARRAIGNMENT


            IT IS HEREBY ORDERED that the above entitled and numbered case is set for
INITIAL APPEARANCE / MISD. ARRAIGNMENT, in Magistrate Courtroom 612, on the
6th Floor of the United States Courthouse, 525 Magoffin Avenue, El Paso, TX, on:

                               November 28, 2023 at 02:30 PM


           IT IS FURTHER ORDERED that the Clerk of Court shall send a copy of this order
to the defendant, counsel for defendant, the United States Attorney, U.S. Pretrial Services,
United States Probation Office, and any surety or custodian, if applicable. Counsel for the
defendant shall notify the defendant of this setting and if the defendant is on bond, advise the
defendant to be present at this proceeding.

            In accordance with Federal Rule of Criminal Procedure 5(f), as amended by the Due
Process Protections Act, Pub. L. No. 116-182, 134 Stat. 894 (Oct. 21, 2020), the Government is
hereby notified of and ordered to comply with (1) the prosecutor's disclosure obligations under
Brady v. Maryland, 373 U.S. 83 (1963), and its progeny, and (2) the possible consequences of
violating this Order, which may include sanctions such as delay of trial or other proceedings, the
exclusion of evidence, the giving of adverse jury instructions, the grant of new trial, the
dismissal of an action, or finding in contempt.

           IT IS SO ORDERED this 28th day of November, 2023.



                                              ______________________________
                                              ROBERT F. CASTANEDA
                                              UNITED STATES MAGISTRATE JUDGE
                      Case 3:23-mj-03801-RFC          Document 1            Filed 11/28/23        Page 5 of 6
AO 442 (REV. 12/85)




                             UNITED STATES DISTRICT COURT
                                                                                                                 FILED
                                                                                                               11/28/2023
                              WESTERN DISTRICT OF TEXAS,EL PASO DIVISION                                Clerk, U.S. District Court
                                                                                                        Western District of Texas




                                                                                                                                      Deputy


USA                                                              §
                                                                 § CRIMINAL COMPLAINT
vs.                                                              § CASE NUMBER: EP:23-M -03801(1)
                                                                 §
(1) JHOAN LEE BASTIDAS PAZ                                       §


                I, the undersigned complainant being duly sworn state the following is true and correct to the best of my

knowledge and belief. On or about 11/19/2023 in El Paso county, in the WESTERN DISTRICT OF TEXAS defendant

did, being an alien to the United States, knowingly enter and attempt to enter the United States at a time and place

other than as designated by immigration officers.

in violation of Title 8 United States Code, Section(s) 1325(a)(1).

                I further state that I am a Border Patrol Agent and that this complaint is based on the following facts:

"The DEFENDANT, Jhoan Lee BASTIDAS PAZ, an alien to the United States and a citizen of Venezuela, entered the United

States from the Republic of Mexico by wading the Rio Grande River on November 19, 2023, approximately 3.3 miles east

of the Bridge of the Americas Port of Entry in El Paso, Texas, in the Western District of Texas.              The place where the

DEFENDANT entered is not designated as a Port of Entry by immigration officers."

Continued on the attached sheet and made a part of hereof:                                                      X Yes                No




Sworn to before me and subscribed in my presence,                                       / s / PARKER, CLAUDIA
                                                                                       Signature of Complainant
                                                                                       Border Patrol Agent


11/28/2023                                                                        at   EL PASO, Texas
File Date                                                                              City and State

                                                      OATH TELEPHONICALLY
                                                      SWORN AT 01:01 P.M.
                                                      FED.R.CRIM.P.4.1(b)(2)(A)

ROBERT F. CASTANEDA                                                                    ______________________________
UNITED STATES MAGISTRATE JUDGE                                                         Signature of Judicial Officer
                Case 3:23-mj-03801-RFC
CONTINUATION OF CRIMINAL COMPLAINT
                                              Document 1      Filed 11/28/23    Page 6 of 6

WESTERN DISTRICT OF TEXAS

(1) JHOAN LEE BASTIDAS PAZ

FACTS   (CONTINUED)

The DEFENDANT, Jhoan Lee BASTIDAS PAZ, an alien to the United States and a citizen of Venezuela, entered
the United States from the Republic of Mexico by wading the Rio Grande River on November 19, 2023,
approximately 3.3 miles east of the Bridge of the Americas Port of Entry in El Paso, Texas, in the Western
District of Texas. The place where the DEFENDANT entered is not designated as a Port of Entry by
immigration officers.



Because this affidavit is being submitted for the limited purpose of establishing probable cause as set forth
herein, I have not included each and every fact known to me concerning this investigation.


IMMIGRATION HISTORY:
NONE

CRIMINAL HISTORY:
NONE
